                          Case 20-50471-btb                Doc 1       Entered 05/04/20 17:00:21                    Page 1 of 34


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ALY EATERY, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA SUBWAY SANDWICHES
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5015 S. MCCARRAN BLVD
                                  RENO, NV 89502
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Washoe                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    ALY EATERY, INC.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


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Debtor   ALY EATERY, INC.                                                      Case number (if known)
         Name




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Debtor   ALY EATERY, INC.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor    ALY EATERY, INC.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 4, 2020
                                                  MM / DD / YYYY


                             X   /s/ ALICIA YOUNGBERG                                                     ALICIA YOUNGBERG
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   PRESIDENT




18. Signature of attorney    X   /s/ KEVIN A DARBY                                                         Date May 4, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 KEVIN A DARBY 7670
                                 Printed name

                                 DARBY LAW PRACTICE
                                 Firm name

                                 4777 CAUGHLIN PARKWAY
                                 RENO, NV 89519
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775.322.1237                  Email address      kevin@darbylawpractice.com

                                 7670 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 4, 2020                             X /s/ ALICIA YOUNGBERG
                                                                       Signature of individual signing on behalf of debtor

                                                                       ALICIA YOUNGBERG
                                                                       Printed name

                                                                       PRESIDENT
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name ALY EATERY, INC.
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AMERICAN                                                        CREDIT CARD                                                                                              $16,914.84
 EXPRESS                                                         CHARGES FOR
 PO BOX 0001                                                     BUSINESS
 LOS ANGELES, CA
 90096-8000
 AMERICAN                                                        CREDIT CARD                                                                                                $7,233.69
 EXPRESS                                                         CHARGES FOR
 PO BOX 0001                                                     BUSINESS
 LOS ANGELES, CA
 90096-8000
 ASCENTIUM                                                       DEBTOR'S                                            $20,000.00                 $15,000.00                $20,000.00
 CAPITAL                                                         EQUIPMENT AND
 23970 HIGHWAY 59                                                FIXTURES
 NORTH
 KINGWOOD, TX
 77339-1535
 CAPITAL ONE                                                     CREDIT CARD                                                                                              $13,789.47
 P.O. BOX 60599                                                  CHARGES FOR
 CITY OF INDUSTRY,                                               BUSINESS
 CA 91716-0599
 CHASE CREDIT                                                    CREDIT CARD                                                                                                $5,384.31
 CARD SERVICES                                                   SERVICES FOR
 P.O. Box 15123                                                  BUSINESS
 WILMINGTON, DE
 19850-5123
 FIRST NATIONAL                                                  CREDIT CARD                                                                                              $13,376.75
 BANK OF OMAHA                                                   CHARGES FOR
 P.O. BOX 2818                                                   BUSINESS
 OMAHA, NE
 68103-2818
 GREEN NOTE                                                      DEBTOR'S                                            $30,000.00                 $15,000.00                $30,000.00
 CAPITAL                                                         EQUIPMENT AND
 1202 AVENUE U                                                   FIXTURES
 BROOKLYN, NY
 11229




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    ALY EATERY, INC.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NEVADA                                                          SALES TAX                                                                                                  $9,457.07
 DEPARTMENT OF
 TAXATION
 PO BOX 7065
 SAN FRANCISCO,
 CA 94120-7165
 NV ENERGY                                                       ELECTRIC                                                                                                     $750.00
 PO BOX 10100                                                    UTILITIES
 Reno, NV 89520
 US BANK                                                         CREDIT CARD                                                                                              $16,484.78
 P.O. BOX 790408                                                 CHARGES FOR
 SAINT LOUIS, MO                                                 BUSINESS
 63179
 WESTERN                                                         2 SPEED OVENS;                                      $51,877.14                 $15,000.00                $36,877.14
 EQUIPMENT                                                       2
 FINANCE, INC.                                                   REFRIDGERATOR
 503 HWY 2W                                                      UNITS; 1
 P.O. BOX 640                                                    SANDWICH UNIT,
 DEVILS LAKE, ND                                                 1 BREAD OVEN,
 58301                                                           MISC. KITCHEN
                                                                 TOOLS




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            ALY EATERY, INC.

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            28,600.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            28,600.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           101,877.14


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,457.07

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            73,933.84


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             185,268.05




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $100.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     BANK OF AMERICA, NA                                       CHECKING                      0360                                     $6,500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $6,600.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         ALY EATERY, INC.                                                                  Case number (If known)
                Name


        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last            Net book value of      Valuation method used   Current value of
                                                      physical inventory          debtor's interest      for current value       debtor's interest
                                                                                  (Where available)

 19.       Raw materials
           FOOD PERISHABLES,
           DRY GOODS, PAPER &
           PLASTIC PRODUCTS                           4/21/2020                             $5,000.00    Replacement                         $5,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                              $5,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                        Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                    Net book value of      Valuation method used   Current value of
                                                                                  debtor's interest      for current value       debtor's interest
                                                                                  (Where available)

 39.       Office furniture

 40.       Office fixtures


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         ALY EATERY, INC.                                                               Case number (If known)
                Name

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           HP POS REGISTER COMPUTER SYSTEM AND
           PRINTER                                                                       $2,000.00    Liquidation                         $2,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $2,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                 Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers               debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                       (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           2 SPEED OVENS; 2 REFRIDGERATOR UNITS;
           1 SANDWICH UNIT, 1 BREAD OVEN, MISC.
           KITCHEN TOOLS                                                               $15,000.00     Replacement                       $15,000.00




 51.       Total of Part 8.                                                                                                         $15,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         ALY EATERY, INC.                                                               Case number (If known)
                Name


        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used   Current value of
                                                                               debtor's interest      for current value       debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            SUBWAY SANDWICHES FRANCHISE                                                 Unknown                                           Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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                           Case 20-50471-btb                           Doc 1            Entered 05/04/20 17:00:21                             Page 14 of 34

 Debtor          ALY EATERY, INC.                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $6,600.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $5,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $15,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $28,600.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $28,600.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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                          Case 20-50471-btb                          Doc 1      Entered 05/04/20 17:00:21                  Page 15 of 34

 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   ASCENTIUM CAPITAL                              Describe debtor's property that is subject to a lien                   $20,000.00                $15,000.00
       Creditor's Name                                DEBTOR'S EQUIPMENT AND FIXTURES
       23970 HIGHWAY 59 NORTH
       KINGWOOD, TX 77339-1535
       Creditor's mailing address                     Describe the lien
                                                      UCC-1 FINANCING STATEMENT - 2nd
                                                      PRIORITY
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   GREEN NOTE CAPITAL                             Describe debtor's property that is subject to a lien                   $30,000.00                $15,000.00
       Creditor's Name                                DEBTOR'S EQUIPMENT AND FIXTURES
       1202 AVENUE U
       BROOKLYN, NY 11229
       Creditor's mailing address                     Describe the lien
                                                      UCC 1 FINANCING STATEMENT- THIRD
                                                      PRIORITY
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                           Case 20-50471-btb                         Doc 1      Entered 05/04/20 17:00:21                      Page 16 of 34

 Debtor       ALY EATERY, INC.                                                                        Case number (if known)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        WESTERN EQUIPMENT
 2.3                                                                                                                            $51,877.14          $15,000.00
        FINANCE, INC.                                 Describe debtor's property that is subject to a lien
        Creditor's Name                               2 SPEED OVENS; 2 REFRIDGERATOR UNITS;
        503 HWY 2W                                    1 SANDWICH UNIT, 1 BREAD OVEN, MISC.
        P.O. BOX 640                                  KITCHEN TOOLS
        DEVILS LAKE, ND 58301
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        6/2015                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        6771
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $101,877.14

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         CT CORPORATION SYSTEM, AS REPRESENTATIVE
         330 N. BRAND BLVD                                                                                      Line   2.1
         SUITE 700
         ATTN: SPRS
         GLENDALE, CA 91203

         CT CORPORATION SYSTEM, AS REPRESENTATIVE
         330 N. BRAND BLVD                                                                                      Line   2.2
         SUITE 700
         ATTN: SPRS
         GLENDALE, CA 91203

         PAR FUNDING
         ATTN SETH LENDRY                                                                                       Line   2.2
         22 N. 3RD ST.
         PHILADELPHIA, PA 19106




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $9,457.07     $9,457.07
           NEVADA DEPARTMENT OF                                      Check all that apply.
           TAXATION                                                     Contingent
           PO BOX 7065                                                  Unliquidated
           SAN FRANCISCO, CA 94120-7165                                 Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2020                                                      SALES TAX
           Last 4 digits of account number 1377                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $16,914.84
           AMERICAN EXPRESS                                                            Contingent
           PO BOX 0001                                                                 Unliquidated
           LOS ANGELES, CA 90096-8000                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     CREDIT CARD CHARGES FOR BUSINESS
           Last 4 digits of account number      1009
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $7,233.69
           AMERICAN EXPRESS                                                            Contingent
           PO BOX 0001                                                                 Unliquidated
           LOS ANGELES, CA 90096-8000                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     CREDIT CARD CHARGES FOR BUSINESS
           Last 4 digits of account number      2003
                                                                                   Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 3
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                         Case 20-50471-btb                           Doc 1   Entered 05/04/20 17:00:21                             Page 18 of 34

 Debtor       ALY EATERY, INC.                                                                        Case number (if known)
              Name

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $13,789.47
           CAPITAL ONE                                                          Contingent
           P.O. BOX 60599                                                       Unliquidated
           CITY OF INDUSTRY, CA 91716-0599                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    CREDIT CARD CHARGES FOR BUSINESS
           Last 4 digits of account number      1797
                                                                             Is the claim subject to offset?         No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $5,384.31
           CHASE CREDIT CARD SERVICES                                           Contingent
           P.O. Box 15123                                                       Unliquidated
           WILMINGTON, DE 19850-5123                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    CREDIT CARD SERVICES FOR BUSINESS
           Last 4 digits of account number      6798
                                                                             Is the claim subject to offset?         No     Yes

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $13,376.75
           FIRST NATIONAL BANK OF OMAHA                                         Contingent
           P.O. BOX 2818                                                        Unliquidated
           OMAHA, NE 68103-2818                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    CREDIT CARD CHARGES FOR BUSINESS
           Last 4 digits of account number      2690
                                                                             Is the claim subject to offset?         No     Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $750.00
           NV ENERGY                                                            Contingent
           PO BOX 10100                                                         Unliquidated
           Reno, NV 89520                                                       Disputed
           Date(s) debt was incurred  MARCH 2020                             Basis for the claim:    ELECTRIC UTILITIES
           Last 4 digits of account number 8972
                                                                             Is the claim subject to offset?         No     Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $16,484.78
           US BANK                                                              Contingent
           P.O. BOX 790408                                                      Unliquidated
           SAINT LOUIS, MO 63179                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    CREDIT CARD CHARGES FOR BUSINESS
           Last 4 digits of account number      9724
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       CHASE CREDIT CARDS
           P.O. Box 6294                                                                              Line     3.4
           CAROL STREAM, IL 60197-6294
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                        9,457.07
 5b. Total claims from Part 2                                                                            5b.    +     $                       73,933.84



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 3
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 Debtor       ALY EATERY, INC.                                                                    Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $                     83,390.91




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   LEASE OF 2016 KIA
             lease is for and the nature of               SOUL USED FOR
             the debtor's interest                        BUSINESS AND
                                                          MARKETING
                                                          PURPOSES
                  State the term remaining
                                                                                      ALICIA YOUNGBERG
             List the contract number of any                                          150 DEL MESA CIRCLE
                   government contract                                                RENO, NV 89521


 2.2.        State what the contract or                   COMMERCIAL LEASE
             lease is for and the nature of               FOR 5101 SOUTH
             the debtor's interest                        MCCARRAN BLVD.

                  State the term remaining                                            PACIFIC CASTLE MANAGMENT
                                                                                      Attn: Claudia Lopez
             List the contract number of any                                          P.O. Box 749024
                   government contract                                                LOS ANGELES, CA 90074-9024




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         ALY EATERY, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                          04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                           Gross revenue
       which may be a calendar year                                                            Check all that apply                         (before deductions and
                                                                                                                                            exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                $111,949.85
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                $455,041.48
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                                $501,548.66
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue            Gross revenue from
                                                                                                                                            each source
                                                                                                                                            (before deductions and
                                                                                                                                            exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                           Dates               Total amount of value          Reasons for payment or transfer
                                                                                                                                Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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 Debtor       ALY EATERY, INC.                                                                          Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               GREEN NOTE CAPITAL                                            DAILY FOR                      $10,211.52                Secured debt
               1202 AVENUE U                                                 90-DAYS                                                  Unsecured loan repayments
               BROOKLYN, NY 11229                                            BEFORE
                                                                                                                                      Suppliers or vendors
                                                                             PETITION
                                                                                                                                      Services
                                                                             DATE
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    ALICIA YOUNGBERG                                              2020                           $21,000.00           COMPENSATION FOR
               150 DEL MESA CIRCLE                                                                                               MANAGEMENT AND
               RENO, NV 89521                                                                                                    OPERATIONAL SERVICES
               SOLE OFFICER AND SHAREHOLDER

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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                         Case 20-50471-btb                           Doc 1      Entered 05/04/20 17:00:21                      Page 24 of 34
 Debtor        ALY EATERY, INC.                                                                             Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    DARBY LAW PRACTICE
                4777 CAUGHLIN PARKWAY
                RENO, NV 89519                                       Attorney Fees Retainer                                    5/4/2020               $2,500.00

                Email or website address
                kad@darbylawpractice.com

                Who made the payment, if not debtor?
                ALY EATERY, INC.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers        Total amount or
                                                                                                                         were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer       Total amount or
               Address                                           payments received or debts paid in exchange                was made                     value

 Part 7:       Previous Locations

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 Debtor      ALY EATERY, INC.                                                                           Case number (if known)



14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                         Names of anyone with               Description of the contents            Do you still
                                                                       access to it                                                              have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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 Debtor      ALY EATERY, INC.                                                                           Case number (if known)




          None

       Facility name and address                                       Names of anyone with               Description of the contents                   Do you still
                                                                       access to it                                                                     have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                            Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       FRANK MEESE, CPA                                                                                                     2015 - PRESENT
                    5190 NEIL ROAD SUITE 560
                    Reno, NV 89502

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       FRANK MEESE, CPA
                    5190 NEIL ROAD SUITE 506
                    Reno, NV 89502
       26c.2.       ALICIA YOUNGBERG
                    5015 S. MCCARRAN BLVD
                    Reno, NV 89502

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       ALICIA YOUNGBERG                               5015 S. MCCARRAN BLVD                               SOLE OFFICER, DIRECTOR                100
                                                      Reno, NV 89502                                      AND SHAREHOLDER



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
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    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 ALICIA YOUNGBERG
       .    5015 S. MCCARRAN BLVD                                                                                        MAY 2019 -        COMPENSATION
               RENO, NV 89502                                    $11,990.14                                              APRIL 2020        FOR SERVICES

               Relationship to debtor
               SOLE OFFICER, DIRECTOR
               AND SHAREHOLDER


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 4, 2020

 /s/ ALICIA YOUNGBERG                                                    ALICIA YOUNGBERG
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re       ALY EATERY, INC.                                                                                 Case No.
                                                                                    Debtor(s)                 Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  2,500.00
             Prior to the filing of this statement I have received                                        $                  2,500.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):            FUNDS RECEIVED PRE-PETITION WILL BE APPLIED TO PRE-PETITION FEES
                                                                      INCURRED WITH THE REMAINDER HELD AS RETAINER FOR POST-PETITION
                                                                      SERVICES

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):            ACTUAL FEES BILLED POST-PETITION WILL BE PAID AS ADMINISTRATIVE
                                                                      CLAIMS THROUGH DEBTOR'S CHAPTER 11 PLAN OF REORGANIZATION

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 4, 2020                                                                    /s/ KEVIN A DARBY
     Date                                                                           KEVIN A DARBY 7670
                                                                                    Signature of Attorney
                                                                                    DARBY LAW PRACTICE
                                                                                    4777 CAUGHLIN PARKWAY
                                                                                    RENO, NV 89519
                                                                                    775.322.1237 Fax: 775.996.7290
                                                                                    kevin@darbylawpractice.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      ALY EATERY, INC.                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
 business of holder
 ALICIA YOUNGBERG                                                     COMMON          100%                                       SHAREHOLDER
 150 DEL MESA CIRCLE
 RENO, NV 89521


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the PRESIDENT of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date May 4, 2020                                                              Signature /s/ ALICIA YOUNGBERG
                                                                                            ALICIA YOUNGBERG

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                             District of Nevada
 In re      ALY EATERY, INC.                                                                          Case No.
                                                                                    Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       May 4, 2020                                                 /s/ ALICIA YOUNGBERG
                                                                         ALICIA YOUNGBERG/PRESIDENT
                                                                         Signer/Title




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                  ALY EATERY, INC.
                  5015 S. MCCARRAN BLVD
                  RENO, NV 89502

                  KEVIN A DARBY
                  DARBY LAW PRACTICE
                  4777 CAUGHLIN PARKWAY
                  RENO, NV 89519

                  ALICIA YOUNGBERG
                  150 DEL MESA CIRCLE
                  RENO, NV 89521

                  AMERICAN EXPRESS
                  Acct No XXXXXXXX2-31009
                  PO BOX 0001
                  LOS ANGELES, CA 90096-8000

                  AMERICAN EXPRESS
                  Acct No XXXXXXXX3-42003
                  PO BOX 0001
                  LOS ANGELES, CA 90096-8000

                  ASCENTIUM CAPITAL
                  23970 HIGHWAY 59 NORTH
                  KINGWOOD, TX 77339-1535

                  CAPITAL ONE
                  Acct No XXXXXXX1797
                  P.O. BOX 60599
                  CITY OF INDUSTRY, CA 91716-0599

                  CHASE CREDIT CARD SERVICES
                  Acct No xxxx xxxx xxxx 6798
                  P.O. Box 15123
                  WILMINGTON, DE 19850-5123

                  CHASE CREDIT CARDS
                  Acct No xxxx xxxx xxxx 6798
                  P.O. Box 6294
                  CAROL STREAM, IL 60197-6294

                  CT CORPORATION SYSTEM, AS REPRESENTATIVE
                  330 N. BRAND BLVD
                  SUITE 700
                  ATTN: SPRS
                  GLENDALE, CA 91203

                  FIRST NATIONAL BANK OF OMAHA
                  Acct No XXXX XXXX XXXX 2690
                  P.O. BOX 2818
                  OMAHA, NE 68103-2818
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              GREEN NOTE CAPITAL
              1202 AVENUE U
              BROOKLYN, NY 11229

              NEVADA DEPARTMENT OF TAXATION
              Acct No 1377
              PO BOX 7065
              SAN FRANCISCO, CA 94120-7165

              NV ENERGY
              Acct No 8972
              PO BOX 10100
              Reno, NV 89520

              PACIFIC CASTLE MANAGMENT
              Attn: Claudia Lopez
              P.O. Box 749024
              LOS ANGELES, CA 90074-9024

              PAR FUNDING
              ATTN SETH LENDRY
              22 N. 3RD ST.
              PHILADELPHIA, PA 19106

              US BANK
              Acct No XXXX XXXX XXXX 9724
              P.O. BOX 790408
              SAINT LOUIS, MO 63179

              WESTERN EQUIPMENT FINANCE, INC.
              Acct No 40134677-1
              503 HWY 2W
              P.O. BOX 640
              DEVILS LAKE, ND 58301
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                                                                             District of Nevada
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                                                                                    Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ALY EATERY, INC. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 4, 2020                                                            /s/ KEVIN A DARBY
 Date                                                                   KEVIN A DARBY 7670
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for ALY EATERY, INC.
                                                                        DARBY LAW PRACTICE
                                                                        4777 CAUGHLIN PARKWAY
                                                                        RENO, NV 89519
                                                                        775.322.1237 Fax:775.996.7290
                                                                        kevin@darbylawpractice.com




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